           Case 4:20-cv-00008-AT Document 909 Filed 06/22/22 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

JARROD JOHNSON individually,                )
and on Behalf of a Class of persons         )
similarly situated,                         )
                                            )
                    Plaintiff,              )
                                            )   Civil Action No. 4:20-cv-00008-
      v.                                    )   AT
                                            )
3M COMPANY, et al.,                         )
                    Defendants.             )
                                            )



             JOINT MOTION FOR ENTRY OF CONSENT DECREE

      Plaintiff and Defendant IMACC Corporation (collectively “the Parties”)

hereby move the Court to enter the Consent Decree filed herewith, and in support

thereof state as follows:

   1. On May 6, 2022, the Parties filed a Joint Notice of Lodging of Proposed

Consent Decree [Doc. 877] and a Proposed Consent Decree [Doc. 877-1] in order to

provide the Court with notice of the Parties’ proposed settlement.

   2. Also on May 6, 2022, Plaintiff served a copy of the Proposed Consent Decree

on the Department of Justice (“USDOJ”) and on the Administrator of the United

States Environmental Protection Agency (“USEPA”).
         Case 4:20-cv-00008-AT Document 909 Filed 06/22/22 Page 2 of 4




   3. On May 13, 2022, as required by 40 C.F.R. 135.5(b), Plaintiff filed a Notice

of Service of Proposed Consent Decree [Doc. 882], demonstrating service of the

Proposed Consent Decree on both USDOJ and USEPA. As shown in Exhibit A

thereto [Doc. 882-1], USDOJ determined that the 45-day review and comment

period ended on June 21, 2022.

   4. On June 21, 2022, USDOJ provided the letter attached hereto as Exhibit 1 to

counsel for the Parties, confirming that the United States has no objection to the

entry of the Consent Decree by this Court. To ensure that the government’s position

is on the public record, the Parties file USDOJ’s letter herewith.

      Now that USDOJ has completed its review of the Consent Decree, and has no

objection to its entry, the Parties respectfully request that the Court enter the Consent

Decree filed herewith as expeditiously as possible.

      This the 22nd day of June, 2022.

 /s/ James S. Whitlock                          /s/ Meaghan G. Boyd
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                                            2
        Case 4:20-cv-00008-AT Document 909 Filed 06/22/22 Page 3 of 4




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Norther District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14 point font, as mandated in Local Rule 5.1.C.



                                       3
        Case 4:20-cv-00008-AT Document 909 Filed 06/22/22 Page 4 of 4




                        CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing JOINT MOTION FOR ENTRY OF

CONSENT DECREE has been filed electronically with the Clerk of Court by using

the CM/ECF system which will automatically email all counsel of record.

      This the 22nd day of June, 2022.

                                                 /s James S. Whitlock




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